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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:                                                   Case No.: 8:17-bk-00519-CPM
                                                         Chapter 7
Marize Veloso Nguyen,

Debtor(s)                      /

               MOTION TO APPROVE COMPROMISE OF CONTROVERSY

                               NOTICE OF OPPORTUNITY TO
                            OBJECT AND REQUEST FOR HEARING

        Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
 paper without further notice or hearing unless party-in-interest files a response within 21 days
 from the date set forth on the proof of service attached to this paper plus an additional three
 days for service if any party was served by U.S. Mail.

         If you object to the relief requested in this paper, you must file a response with the
 Clerk of the Bankruptcy Court, 801 N. Florida Avenue, Suite 555, Tampa, FL 33602-3899 and
 serve a copy on the movant's attorney (Brad W. Hissing, Esq., Wetherington Hamilton, P.A.,
 1010 N. Florida Avenue, Tampa, Florida 33602), and any other appropriate persons within the
 time allowed. If you file and serve a response within the time permitted, the Court will either
 schedule and notify you of a hearing or consider the response and grant or deny the relief
 requested without a hearing.

         If you do not file a response within the time permitted, the Court will consider that you
 do not oppose the relief requested in the paper, will proceed to consider the paper without
 further notice or hearing, and may grant the relief requested.

         Beth Ann Scharrer, Chapter 7 Trustee (Trustee), by and through the undersigned counsel,

hereby gives notice to parties in interest, pursuant to Rule 9019 of the F.R.B.P., and seeks

authority of the Court for approval of the following proposed compromise between the estate and

David Beckner (“Beckner”). The Trustee further moves for an Order directing that service of any

Order on this Motion be limited to the Debtor, the Debtor’s attorney, the Chapter 7 Trustee, the

Chapter 7 Trustee’s attorney, the U.S. Trustee and other parties to the proposed transaction, and

objecting party, if any, and in support says:
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    1. Bankruptcy Case Background:

       The Debtor filed a Chapter 7 bankruptcy case on January 23, 2017. Property of the

bankruptcy estate at the time that the Debtor filed the bankruptcy case included the Debtor’s

interest in a 2013 Toyota Highlander (“Vehicle”) and a fractional 30% interest in two (2) lots of

unimproved real estate located on Devil Dog Drive in Brooksville, Florida (“Devil Dog Lots”).

The Debtor stated on her Schedules that the Vehicle had a value of $19,050.00 and was subject to a

lien in favor of Beckner in the amount of $23,000.00. The Debtor also stated on her Schedules that

the Debtor’s interest in the Devil Dog Lots had a combined value of $26,268.60 (30% of

$87,562.00) and that the Devil Dog Lots were subject to a mortgage lien in favor of Beckner in the

total amount of $29,000.00 (mortgage of $14,500.00 per lot). Neither the Vehicle nor the Devil

Dog Lots were claimed as exempt and therefore these items are property of the bankruptcy estate

subject to administration by the Trustee.

    2. The Controversy:

       The Trustee believes that the lien in favor of Beckner on the Vehicle is avoidable as a

preferential transfer pursuant to Section 547 of the Bankruptcy Code1. Further, the Trustee

believes that Beckner’s mortgage lien on the Devil Dog Lots may be avoidable pursuant to

Sections 547 or Sections 548 of the Bankruptcy Code as either a preferential transfer or

fraudulent transfer.

    3. Compromise:

         Beckner will pay the sum of $21,000.00 into the bankruptcy estate within fourteen (14)

days of the date of the Order, if any, approving this compromise of controversy, if he has not



1
 The Trustee filed adversary proceeding 8:17-ap-00370-CPM against Beckner on May 1, 2017 to
avoid the lien on the Vehicle.
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already paid this sum by the date of the Order. The Trustee will dismiss adversary proceeding

8:17-ap-00370-CPM with prejudice after receipt and verification of the settlement funds and

entry of an Order, if any, approving this compromise of controversy.

    4.   Best Interest of the Estate:

         The compromise between the parties permits the Trustee to avoid the burden, expense,

and uncertainty of litigation or issues in this case and allows all of the parties to resolve fully

and with certainty all issues surrounding Beckner’s lien on the Vehicle and asserted mortgage

lien on the Devil Dog Lots. The Trustee believes that the proposed resolution is in the best

interests of the creditors of the estate as it will lead to a significant distribution to creditors who

have filed timely claims2 and further respectfully requests that the Court approve the

settlement set forth above.

                                                Respectfully submitted,

                                                WETHERINGTON HAMILTON, P.A.

                                                /s/ Brad W. Hissing
                                                _______________________________
                                                Brad W. Hissing, Esquire
                                                Florida Bar #854794
                                                1010 North Florida Ave.
                                                Tampa, FL 33602
                                                (813) 225-1918 (813) 225-2531 (fax)
                                                bwhpleadings@whhlaw.com




2
Based upon the claims filed as of the bar date, the Trustee estimates that unsecured creditors
will receive a full or nearly full distribution.
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                              CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the foregoing was served as
follows:
        By email transmission via CM/ECF on the same date as reflected on the Court’s docket
as the electronic filing date for the document to:
        Beth Ann Scharrer, Trustee, bscharrertrustee@gmail.com
        United States Trustee USTPRegion21.TP.ECF@USDOJ.GOV
        David Thorpe, Esq., david@thorpelawfirm.com

       AND

       By U.S. first class mail on June 28, 2017 to:
       Marize Veloso Nguyen, 6276 Barclay Avenue, Brooksville, FL 34609-8714
       David Beckner, 6276 Barclay Avenue, Brooksville, FL 34609-8714
       and all other parties as set forth on the attached Mailing Matrix.

                                          /s/ Brad W. Hissing
                                          _______________________________
                                          Brad W. Hissing, Esquire
